      Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 1 of 24




                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                  Plaintiff,                    Case No. 20-cr-188 (JSR)

             v.

HAMID AKHAVAN and RUBEN WEIGAND,

                  Defendants




  MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT RUBEN WEIGAND’S
             MOTION TO DISMISS THE INDICTMENT
             Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 2 of 24




                                                   TABLE OF CONTENTS

TABLE OF AUTHORITIES ......................................................................................................... ii
PRELIMINARY STATEMENT ................................................................................................... 1
BACKGROUND ........................................................................................................................... 4
ARGUMENT ................................................................................................................................. 6
I.        The Bank Fraud Statute Requires Proof That The Defendant Intended To Both
          Deceive The Victim And To Cheat The Victim Out Of Property By Material
          Misrepresentations. ............................................................................................................ 7
          A.         The Dismissal Of An Indictment For Failure To State An Offense ...................... 7
          B.         Kelly v. United States ............................................................................................. 8
          C.         Wire Fraud Precedents Are Applicable To The Bank Fraud Statute ................... 10
          D.         Materiality Is Essential ........................................................................................ 11
II.       The Indictment Does Not Allege A Scheme With The Objective To “Cheat” Or
          Deprive The U.S. Issuing Banks Of Property. ................................................................. 11
          A.         The Indictment Does Not Allege A Scheme To Obtain Money From Or
                     Inflict Economic Harm On U.S. Issuing Banks. .................................................. 12
          B.         U.S. Issuing Banks’ Intangible Right To Approve Credit Card
                     Transactions Based On Correct Merchant Codes Is Not A Qualifying
                     Property Right Under Kelly. ................................................................................ 15
III.      If Anything, The Indictment Alleges A Scheme That Had Only An Incidental and
          Immaterial Effect On The U.S. Issuing Banks. ............................................................... 17
CONCLUSION ............................................................................................................................ 19




                                                                      i
             Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 3 of 24




                                               TABLE OF AUTHORITIES

CASES

Dowling v. United States,
  473 U.S. 207 (1985) ...................................................................................................................8

Kelly v. United States,
   140 S. Ct. 1565 (2020) ..................................................................................................... passim

Loughrin v. United States,
   573 U.S. 351 (2014) ...................................................................................................................7

Neder v. United States
   527 U.S. 1 (1999) .....................................................................................................................10

Russell v. United States,
   369 U.S. 749 (1962) ...................................................................................................................8

United States v. Ayewoh,
   627 F.3d 914 (1st Cir. 2010) ......................................................................................................5

United States v. Banyan,
   933 F.3d 548 (6th Cir. 2019) ...................................................................................................12

United States v. Bouchard,
   828 F.3d 116 (2d Cir. 2016).......................................................................................................7

United States v. DiMarzo,
   No. 93-cr-247, 1993 WL 426936 (S.D.N.Y. Oct. 21, 1993) ...................................................19

United States v. Finazzo,
   850 F.3d 94 (2d Cir. 2017).......................................................................................................14

United States v. George,
   223 F. Supp. 2d 159 (S.D.N.Y. 2016)........................................................................................8

United States v. Goldberg,
   756 F.2d 949 (2d Cir. 1985).......................................................................................................8

United States v. Lebedev,
   932 F.3d 40 (2d Cir. 2019).......................................................................................................17

United States v. Mercado,
   No. S1-02-cr-675, 2003 WL 21756084 (S.D.N.Y. July 30, 2003) ..........................................19

United States v. Mermelstein,
   487 F. Supp. 2d 242 (E.D.N.Y. 2007) .......................................................................................8

                                                                    ii
             Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 4 of 24




United States v. Miller,
   953 F.3d 1095 (9th Cir. 2020) ......................................................................................... passim

United States v. Murphy,
   836 F.2d 248 (6th Cir. 1988) ...................................................................................................16

United States v. Nejad,
   No. 18–CR–224 (AJN), 2020 WL 883500 (S.D.N.Y. Feb. 24, 2020) ....................................12

United States v. Puerta,
   607 F. App'x 635 (9th Cir. 2015) .............................................................................................14

United States v. Ragosta,
   970 F.2d 1085 (2d Cir. 1992)...................................................................................................10

United States v. Regent Office Supply Co.,
   421 F.2d 1174 (2d Cir. 1970)...............................................................................................3, 12

United States v. Rigas,
   490 F.3d 208 (2d Cir. 2007).........................................................................................11, 14, 18

United States v. Sadler,
   750 F.3d 585 (6th Cir. 2014) ...................................................................................................16

United States v. Shellef,
   507 F.3d 82 (2d Cir. 2007).................................................................................................11, 18

United States v. Starr,
   816 F.2d 94 (2d Cir. 1987).......................................................................................3, 12, 14, 16

United States v. Stavroulakis,
   952 F.2d 686 (2d Cir. 1992).......................................................................................................5

United States v. Tana,
   618 F. Supp. 1393 (S.D.N.Y. 1985)...........................................................................................8

STATUTES

18 U.S.C. § 666 ................................................................................................................................9

18 U.S.C. § 1343 ..............................................................................................................................9

18 U.S.C. § 1344 ....................................................................................................................1, 7, 12




                                                                      iii
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 5 of 24




                                PRELIMINARY STATEMENT

       The Indictment in this case should be dismissed because the facts alleged by the

Government cannot support the charge of conspiracy to commit bank fraud. In fact, they

conclusively refute it. On March 31, 2020, the defendants were charged in superseding indictment

S3 20 Cr. 188 (the “Indictment”) with a single count of conspiracy to commit bank fraud for

allegedly participating in a scheme to “disguise” debit and credit card transactions for the purchase

of marijuana as transactions for other, “legitimate goods.” Indictment at ¶¶ 2, 13. The Indictment

does not allege that, in connection with the scheme, the defendants sought to cheat any U.S.

financial institutions. Indeed, on the Indictment’s own telling, it was not an object of the alleged

scheme that the defendants obtain “moneys, funds, credits, assets, securities, or other property,”

18 U.S.C. § 1344, from any U.S. financial institutions. On the contrary, the object of the alleged

scheme was to secure approval of transactions that debit and credit cardholders wished to engage

in, and from which the alleged victims—“some” unspecified issuing banks in the United States

(“U.S. Issuing Banks”)—received significant fees.1

       Those banks had already made the decision to extend credit or provide debit card services

to the cardholders, and there is no allegation that the U.S. Issuing Banks suffered any loss from

the transactions, or faced any economic risk whatsoever. In fact, quite the opposite: they benefited

from the transactions. And there is no allegation that Weigand ever interacted with the U.S. Issuing


1
  Although the Indictment refers generally to “United States Banks” and “financial institutions,” it
is clear from the allegations in the Indictment that the federally-insured financial institutions
alleged to be the victims in this case are domestic banks that (unlike other domestic banks) opted
not to process transactions related to marijuana. The Indictment also refers to “acquiring” banks,
which held accounts for merchants in which the proceeds of credit and debit card transactions were
deposited. Indictment at ¶ 11(b). The Indictment, as well as other representations by the
Government, indicate that the merchant acquiring banks engaged by the defendants in the alleged
scheme were “offshore,” foreign banks. See Indictment at ¶¶ 2, 13; see also Gov. Bail Opposition
at 3–4.

                                                 1
           Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 6 of 24




Banks at all, let alone that he did so in a fraudulent manner. The Foreign Acquiring Banks

referenced in the Indictment are not within the scope of the bank fraud statute and, in any event,

the Government has now confirmed that the Foreign Acquiring Banks were, in its view, co-

conspirators, not victims of any deceit. To the extent that those Foreign Acquiring Banks were

obtaining money from the U.S. Issuing Banks, that was an incidental byproduct of defendants’

alleged scheme to secure approval of credit and debit cardholders’ transactions. It was not the

object of the alleged conspiracy. As a result, on the facts alleged in the Indictment, there was no

scheme to obtain “moneys . . . or other property” from U.S. financial institutions. Thus, as a matter

of law, there could be no bank fraud.

       That conclusion is all the more obvious in light of the Supreme Court’s recent decision in

Kelly v. United States, 140 S. Ct. 1565 (2020). On May 7, 2020, in a landmark decision narrowing

the scope of the federal criminal fraud statutes, the Supreme Court expressed concern with the

“ballooning of federal power” and the “sweeping expansion of federal criminal jurisdiction,” and

held that the federal fraud statutes require the Government to prove that the “object” of a fraud

scheme is to obtain money or tangible property from the victim. Id. at 1568, 1574 (holding that a

scheme focused on the intangible right to control traffic on the George Washington Bridge toll

plaza was not within the ambit of the federal fraud statutes charged in that case) (citation omitted).

The Court explained that a scheme aimed at denying the alleged victim the right to exercise

“allocation, exclusion, and control” over its property does not qualify under the fraud statutes. Id.

at 1572. And it held that a conviction under the fraud statutes cannot rest on an “incidental”

deprivation of property—in Kelly, the incremental cost associated with employing additional toll

workers needed to carry out the scheme—that was not the object of the alleged scheme. Id. at

1573–74.




                                                  2
          Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 7 of 24




       Approximately one month earlier, the U.S. Court of Appeals for the Ninth Circuit (with

Your Honor sitting by designation and authoring the opinion) presaged the reasoning in Kelly by

holding that “to be guilty of wire fraud, a defendant must act with the intent not only to . . . utilize

. . . forms of deception, but also to deprive a victim of money or property by means of those

deceptions. In other words, a defendant must intend to deceive and cheat.” United States v. Miller,

953 F.3d 1095, 1101 (9th Cir. 2020) (emphasis in original). To support that holding, Miller relied

on longstanding precedents from the Second Circuit, which established that “contemplated harm”

is an element of “fraudulent intent” and that the Government has the “burden of showing that some

actual harm or injury [to the victim’s money or property] was contemplated by the schemer.” Id.

at 1102 (quoting United States v. Starr, 816 F.2d 94, 101 (2d Cir. 1987), and United States v.

Regent Off. Supply Co., 421 F.2d 1174, 1180 (2d Cir. 1970)).

       The Indictment in this case fails to meet the standard set forth in Kelly (and Miller) and

therefore fails to state an offense because, at most, it alleges a scheme to deceive but not to cheat

a U.S. bank of any property. Despite a detailed description of credit card payment processing,

nowhere does the Indictment allege that any U.S. Issuing Bank suffered economic harm or even

faced any incremental economic risk as a result of unwittingly processing marijuana transactions.

There is no allegation that Weigand communicated in any way with a U.S. financial institution, let

alone an allegation that he made materially false statements to any such institution.

       The Indictment’s allegation that marijuana transactions were “miscoded” by the defendants

and co-conspirators to secure the approval of U.S. Issuing Banks does not meet Kelly’s

requirements. In fact, the right to approve or decline a transaction based on accurate information—

a decision the Indictment does not allege had any bearing on any U.S. Issuing Banks’ economic

position—is the exercise of precisely the type of intangible right of “allocation, exclusion, and




                                                   3
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 8 of 24




control” that does not qualify as a property interest under Kelly. 140 S. Ct. at 1572. Notably, the

Indictment does not allege that any particular U.S. Issuing bank, in fact, did or would have declined

a transaction based on its associated merchant code. On the face of the Indictment, the alleged

scheme is outside the ambit of the federal bank fraud statute. The Indictment should be dismissed.

                                         BACKGROUND

       On March 31, 2020, the Government filed the Indictment against Weigand and his co-

defendant Hamid Akhavan alleging a conspiracy to commit bank fraud in violation of 18 U.S.C.

§ 1349. The Indictment alleges that from in or about 2016 until 2019, the defendants and their co-

conspirators “engaged in a scheme to deceive United States banks and other financial institutions

into processing in excess of one hundred million dollars in credit and debit card payments for the

purchase and delivery of marijuana products.” Indictment at ¶ 1.

       The alleged bank fraud conspiracy involved a California-based purveyor of marijuana,

referred to in the Indictment as the “Online Marijuana Marketplace Company,” which offered on-

demand marijuana delivery services to customers through a mobile application. Id. at ¶ 3. The

Indictment alleges that “[a]t various points” from 2016 through 2019, one of the payment methods

offered by the Online Marijuana Marketplace Company was debit and credit cards. Id. at ¶ 4.

However, according to the Indictment, during that time period, “most banks in the United States

were unwilling to process credit and debit card transactions involving marijuana” and would not

“extend credit (i.e., approve) transactions” for “the sale of marijuana.” Id. at ¶¶ 10(d), 12.2 While

implicitly acknowledging that other banks in the United States were willing to do so, the


2
  As explained below, the Indictment wholly fails to specify which banks were unwilling to do so,
and it wholly fails to identify any specific transactions that would not have been approved in the
absence of the alleged schemes. These defects alone are a basis to dismiss the Indictment for lack
of specificity. And the voluminous discovery the government has produced does nothing to answer
these fundamental questions.



                                                 4
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 9 of 24




Indictment does not so much as assert that any particular bank did or would have refused to

approve any transaction.

       The Indictment alleges that the defendants and their co-conspirators “used several

strategies to trick United States issuing banks into authorizing marijuana transactions for the

Online Marijuana Marketplace Company.” Id. at ¶ 12. Principally, the Indictment alleges that the

defendants created more than a dozen companies (the alleged “Phony Merchants”) “involved in

selling legitimate goods, such as carbonated drinks, face cream, dog products, and diving gear.”

Id. at ¶ 13 They used those companies to open “offshore bank accounts with [offshore]3 merchant

acquiring banks and to initiate credit card charges for marijuana purchases made through the

Online Marijuana Marketplace Company.” Id. at ¶ 12. The Indictment also alleges that defendants

“used merchant codes for other products” and “directed others to apply” those incorrect merchant

codes “in order to get around the[ ] rules” of “Credit Card Companies,” such as Visa and

MasterCard, that “do not support marijuana transactions” and “do not have marijuana merchant

codes.” Id. at ¶¶ 9, 14. Put simply, the Indictment alleges that the defendants engaged in a scheme

to “miscode,” or use inaccurate merchant category codes. Id. at ¶ 9. Notably, however, the

Indictment does not allege that any banks’ approval and processing requirements turned on the

specific codes provided to them.




3
  The Indictment describes the merchant acquiring banks at issue as “offshore acquiring banks.”
Indictment at ¶ 13. Offshore banks that are not federally insured are outside the purview of the
bank fraud statute. See United States v. Ayewoh, 627 F.3d 914, 917 (1st Cir. 2010) (“[U]nder
§ 1344, the defrauded financial institution’s federally-insured status is a jurisdictional prerequisite
as well as a substantive element of the crime, and as such must be proven by the prosecution
beyond a reasonable doubt.”) (internal citations and quotations removed); United States v.
Stavroulakis, 952 F.2d 686, 694 (2d Cir. 1992) (With respect to the bank fraud statute, “[i]t was
Congress’ intent that a federally insured or chartered bank must be the actual or intended victim
of the scheme.”).



                                                  5
        Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 10 of 24




       By taking these measures, the defendants were allegedly able to “disguise payments made

to the Online Marijuana Marketplace Company for the purchase of marijuana products,” to

“deceive United States banks about the true nature of the financial transactions they were

processing,” and thereby “facilitate the approval and processing of marijuana transactions” by U.S.

Issuing Banks, the alleged victims of the scheme. Id. at ¶¶ 2, 9, 13.

                                          ARGUMENT

       The Indictment should be dismissed for two independent but related reasons. First, the

Indictment simply does not describe a cognizable theory of bank fraud. On the Indictment’s own

telling, the object of the alleged scheme was not to obtain money or property from any U.S.

financial institution. Instead, it was to facilitate transactions with cardholders who willingly

initiated those transactions and were not deceived in any way. Because the U.S. Issuing Banks

had already underwritten the credit offered to the cardholders, and because there is no allegation

that the U.S. Issuing Banks lost money on any of the relevant transactions, the inescapable

conclusion is that the U.S. Issuing Banks were not cheated out of any money or property. On the

contrary, they necessarily made significant amounts of money on the transactions through their

collection of fees. Thus, the Indictment itself forecloses any argument that the alleged miscoding

was material or posed any economic harm to those banks. And the Supreme Court’s decision in

Kelly squarely forecloses any theory that a conviction could rest on the notion that defendants

deprived the U.S. Issuing Banks of “allocation, exclusion, and control” over their property.

       Second, to the extent that any money or property was allegedly obtained from the U.S.

Issuing Banks, those funds were obtained by the Foreign Acquiring Banks, not the defendants.

The object of the alleged scheme was not to cheat the U.S. Issuing Banks out of money by

defrauding them. It was to facilitate the transactions with the cardholders, and the defendants

allegedly accomplished that objective through honest interactions with the Foreign Acquiring


                                                 6
        Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 11 of 24




Banks. Thus, to the extent the Indictment alleges an indirect flow of money between those Foreign

Acquiring Banks and the U.S. Issuing Banks, those transactions were an incidental result of

defendants’ alleged scheme, not its primary object. That is plainly insufficient under Kelly.4

I.     The Bank Fraud Statute Requires Proof That The Defendant Intended To Both
       Deceive The Victim And To Cheat The Victim Out Of Property By Material
       Misrepresentations.

       Bank fraud has two separate subsections, which create two separate offenses that the

Indictment generically alleges. See 18 U.S.C. § 1344; Loughrin v. United States, 573 U.S. 351,

355–56 (2014); Indictment ¶¶ 15–16. Under Section 1344 bank fraud can be based on either (1) a

scheme to defraud a financial institution or (2) a scheme to obtain money from a financial

institution by false pretenses or representations. 18 U.S.C. § 1344(1)–(2). But regardless of which

subsection supposedly applies, the Indictment’s flaws are fatal. Under either subsection, the

Indictment must (a) state an offense with sufficient specificity, (b) allege that the defendants

intended to obtain the banks’ property as anything more than a mere incidental byproduct of some

scheme, and (c) show that the defendants made material misrepresentations to those banks. See

Loughrin, 573 U.S. at 355–56, 363; United States v. Bouchard, 828 F.3d 116, 124, 126 (2d Cir.

2016). At each step, the Indictment fails.

       A.      The Dismissal Of An Indictment For Failure To State An Offense

       Under Rule 12(b)(3)(B) of the Federal Rules of Criminal Procedure, a motion to dismiss

an indictment may be brought if it identifies “a defect in the indictment or information,” including

the “failure to state an offense.” Because federal crimes are “solely creatures of statute,” an

indictment must be dismissed if it fails to allege a crime within “the reach of a federal criminal



4
  In addition to the arguments presented in support of his motion, Weigand incorporates by
reference all arguments presented in co-defendant Akhavan’s brief.



                                                 7
        Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 12 of 24




statute.” Dowling v. United States, 473 U.S. 207, 213 (1985); see also United States v. George,

223 F. Supp. 3d 159, 161 (S.D.N.Y. 2016) (granting motion to dismiss indictment for failure to

state an offense because defendant had not committed a “qualifying prior sex offense” within the

meaning of the Sex Offender Registration and Notification Act); United States v. Tana, 618 F.

Supp. 1393, 1394–95 (S.D.N.Y. 1985) (granting motion to dismiss indictment because the

property the defendant allegedly stole did not constitute a “thing of value of the United States”

within the meaning of 18 U.S.C. § 641).

       In evaluating a motion to dismiss, a court “accept[s] as true all of the allegations of the

indictment.” United States v. Goldberg, 756 F.2d 949, 950 (2d Cir. 1985). Even then, however,

the indictment must sufficiently “inform the accused of the specific offense . . . with which he is

charged.” Russell v. United States, 369 U.S. 749, 765 (1962) (citation omitted). And an indictment

is not sufficiently specific unless it provides the defendant “with enough detail that he may plead

double jeopardy in a future prosecution based on the same set of events.” United States v.

Mermelstein, 487 F. Supp. 2d 242, 249 (E.D.N.Y. 2007) (quotations omitted) (citing United States

v. Walsh, 194 F. 3d 37, 44 (2d Cir. 1999) and Hamling v. United States, 418 U.S. 87, 117 (1974)).

       B.      Kelly v. United States

       The Supreme Court’s recent decision in Kelly is directly applicable here. The defendants

in Kelly were public officials with ties to the Port Authority and New Jersey’s then-Governor Chris

Christie. 140 S. Ct. at 1569. Their objective was to punish the Mayor of Fort Lee for failing to

back Christie’s reelection bid. Id. In order to create gridlock and exact political retribution, the

defendants devised a scheme to reallocate the three toll lanes on the George Washington Bridge

toll plaza that were reserved for traffic from Fort Lee. Id. at 1569–1570. As a result of the lane

realignment, two of the dedicated Fort Lee lanes were eliminated and massive traffic congestion

ensued. Id. at 1570. To cover up their scheme, the defendants lied about their motives: they


                                                 8
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 13 of 24




asserted that the lane change was part of a traffic study intended to gauge the impact of lane

closures in the future. And, to give their pretext more credibility, the defendants directed Port

Authority engineers to collect traffic data that was never used. They also hired extra toll collectors

to facilitate the desired lane change at the agency’s expense. Id. at 1569–1571.

       The defendants were convicted of federal wire fraud under 18 U.S.C. § 1343, fraud on a

federally funded program or entity (the Port Authority) under 18 U.S.C. § 666(a)(1)(A), and

conspiracy to commit each of those crimes. Id. at 1568. The Government did not dispute that both

of the federal fraud statutes required property fraud: the wire fraud statute proscribes deceptive

“schemes to deprive [the victim of] money or property” and the federal-program fraud statute

similarly bars “obtain[ing] by fraud” the “property” of a federally funded program or entity. Id. at

1571 (citations omitted). Rather, the Government argued that the scheme in Kelly involved

property fraud in two distinct ways. First, the defendants commandeered property by taking

“control” of the physical lanes on the toll plaza. Second, they diverted the Port Authority’s labor

force by using the agency’s traffic engineers and toll collectors to effectuate the scheme, in turn

depriving the agency of the benefit of wage labor for which it had paid. Kelly, 140 S. Ct. at 1572.

       The Supreme Court rejected both of the Government’s theories. The Court held that a

conviction under the federal fraud statutes requires the Government to prove not only that the

defendants had “engaged in deception, but [also] that an ‘object of their fraud was property.’” Id.

at 1571 (quoting Cleveland v. United States, 531 U.S. 12, 26 (2000)). The Court found that,

although the defendants had usurped the Port Authority’s “‘intangible rights of allocation,

exclusion, and control’—its prerogatives over who should get a benefit and who should not,” those

intangible rights did “not create a property interest.” Id. at 1572 (citation omitted). Similarly,

although the defendants had diverted the Port Authority’s wage labor, that redirected labor was




                                                  9
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 14 of 24




not an “object of the fraud,” but rather an “incidental byproduct” of the scheme. Indeed, the Court

expressly held that “a property fraud conviction cannot stand when the loss to the victim is only

an incidental byproduct of the scheme.” Id. at 1573 (citation omitted).

        C.      Wire Fraud Precedents Are Applicable To The Bank Fraud Statute

        Because the bank fraud statute was modeled on the wire fraud statute and contains the same

operative language, the holding in Kelly extends to the federal bank fraud statute. In Neder v.

United States, the Supreme Court explained that the statutes contain the same core language:

“[T]he mail fraud and wire fraud statutes . . . both prohibit, in pertinent part, ‘any scheme or artifice

to defraud’ or to obtain money or property ‘by means of false or fraudulent pretenses,

representations, or promises.’” 527 U.S. 1, 20–21 (1999) (quoting 18 U.S.C. §§ 1341, 1343).

Likewise, “[t]he bank fraud statute, which was modeled on the mail and wire fraud statutes,

similarly prohibits any ‘scheme or artifice to defraud a financial institution’ or to obtain any

property of a financial institution ‘by false or fraudulent pretenses, representations, or promises.’”

Id. (holding that “materiality of falsehood is an element of the federal mail fraud, wire fraud, and

bank fraud statutes”) (quoting 18 U.S.C. § 1344). And Kelly’s application of the wire fraud statute

turned on this shared statutory language. 140 S. Ct. at 1571 (“The federal wire fraud statute makes

it a crime to effect . . . ‘any scheme or artifice to defraud, or for obtaining money or property by

means of false or fraudulent pretenses, representations, or promises.’”) (citation omitted).

        In light of their shared lineage and language, courts have frequently interpreted the bank

fraud and wire fraud statutes identically, relying on cases concerning one statute to decide cases

concerning the other. See, e.g., Miller, 953 F.3d at 1098–1099, 1102–1103 (relying on a bank

fraud case when holding that the wire fraud statute requires the Government to prove that the

defendant intended to “deceive and cheat,” as opposed to “deceive or cheat” the victim) (emphasis

in original); see also United States v. Ragosta, 970 F.2d 1085, 1090 n.2 (2d Cir. 1992) (“According


                                                   10
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 15 of 24




to its legislative history, the bank fraud statute was modeled after the mail and wire fraud statutes

. . . . Therefore, precedents arising under those statutes can be helpful to inform our interpretation

of . . . amorphous phrases.”) (internal quotations and citations omitted).

       D.      Materiality Is Essential

       The Government must also establish that the defendant’s false statements were material to

the victim. See United States v. Rigas, 490 F.3d 208, 231 (2d Cir. 2007). In other words, the

alleged false statements must have been more than merely relevant; they must have had “probative

weight.” Id. at 234. And it is not enough to claim that the scheme caused the banks “to enter into

transactions they would otherwise avoid.” United States v. Shellef, 507 F.3d 82, 108 (2d Cir.

2007). “[T]o be material, the information withheld either must be of some independent value or

must bear on the ultimate value of the transaction.” Rigas, 490 F.3d at 231 (quoting United States

v. Autuori, 212 F.3d 105, 118 (2d Cir. 2000)).

II.    The Indictment Does Not Allege A Scheme With The Objective To “Cheat” Or
       Deprive The U.S. Issuing Banks Of Property.

       As the Supreme Court made clear in Kelly, the federal fraud statutes require not only an

intent to deceive, but also that “the deceit . . . have . . . the ‘object’ of obtaining the [victim’s]

money or property.”5 140 S. Ct. at 1572. Here, the Indictment fails to allege that the object of the

scheme was to obtain money from, or to inflict any economic harm on, the U.S. Issuing Banks.

On the contrary, if executed as alleged, the scheme would have generated substantial fees for U.S.

Issuing Banks. Far from showing that defendants’ alleged false statements were material, the

Indictment appears to allege that any statements made to U.S. financial institutions were limited


5
  On March 17, 2020, before denying Weigand’s initial bail application, this Court acknowledged
that “[t]he essence of bank fraud, like the mail fraud statute f[rom] which it is derived which goes
back to 1872, is that you lied to someone from whom you were seeking to get money or property
or the like.” Tr. at 25:10-13 (emphasis added).



                                                 11
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 16 of 24




to certain merchant codes and descriptors—which were plainly not material to any decisions that

had any bearing on any U.S. Issuing Banks’ financial position. And again, the Indictment does

not even allege that Weigand had any dealings whatsoever with the U.S. Issuing Banks, but instead

only with foreign entities. As a result, the Indictment fails as a matter of law.

       A.      The Indictment Does Not Allege A Scheme To Obtain Money From Or Inflict
               Economic Harm On U.S. Issuing Banks.

       The Indictment does not allege that the charged scheme put U.S. Issuing Banks at risk of

economic harm, nor does the Indictment allege that the defendants intended to inflict such harm.

As explained above, the bank fraud statute, like the other fraud statutes on which it is modeled,

requires proof that a defendant intended to deprive the victims of money or property. “[T]he

government can[not] escape the burden of showing that some actual harm or injury [to the victim’s

money or property] was contemplated by the schemer.” Miller, 953 F.3d at 1102 (internal citation

omitted); see also United States v. Banyan, 933 F.3d 548, 554 (6th Cir. 2019) (bank fraud “requires

the government to prove the defendant’s ‘intent to obtain bank property’”) (citation omitted);

United States v. Nejad, No. 18–CR–224 (AJN), 2020 WL 883500, at *2 (S.D.N.Y. Feb. 24, 2020)

(“[I]f the Government intends to prove bank fraud under § 1344(1) . . . it must prove that [the

defendant]” knew that his conduct “was likely to cause [banks] tangible economic harm.”). In

other words, as the Second Circuit has long held, the mere intent to deceive is insufficient. Instead,

the Government must, “at a minimum, prove that defendants contemplated some actual harm or

injury to their victims.” Starr, 816 F.2d at 98 (emphasis in original); see also Regent Off. Supply

Co., 421 F.2d at 1181 (holding that “the purpose of the scheme must be to injure”) (citation and

internal quotations omitted).

       The Indictment in this case alleges no intent to deprive U.S. financial institutions of money

or property. Instead, it alleges a deceptive scheme to secure “the approval and processing of



                                                 12
        Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 17 of 24




marijuana transactions,” without any allegation of a tangible economic harm to U.S. Issuing Banks.

Indictment at ¶ 13. Indeed, the only individuals or entities who would have parted with their

money or property were the cardholders, who had already been approved and extended credit by

U.S. Issuing Banks when their cards were issued. See Indictment at ¶¶ 2, 5 (referring to “money

received from the Online Marijuana Marketplace Company’s customers” and describing how those

marijuana purchases were made). Moreover, to the extent debit cards were used, the cardholders

used the existing funds in their accounts without an extension of credit by U.S. Issuing Banks.

There was certainly no deception of those cardholders; they willingly participated in—and, in fact,

initiated—the transactions and thus likewise wanted them to be approved and processed. As the

Indictment alleges, those credit and debit cardholders used their money to buy marijuana

knowingly, voluntarily, and with complete information—in states where it was lawful under state

law to do so. Id. And the Indictment does not allege that the scheme somehow precluded the U.S.

Issuing Banks from collecting the funds from the cardholders—let alone that any such harm was

the object of the alleged conspiracy.

       In fact, the U.S. Issuing Banks would have enjoyed significant economic gain as a result

of the alleged scheme. If the scheme occurred as the Indictment alleges, the U.S. Issuing Banks

made substantial fees from the transactions. The Indictment acknowledges that U.S. Issuing Banks

receive a fee from credit card companies for every transaction they approve. See id. at ¶ 11(c) (“In

the settlement stage, the Credit Card Companies use their Payment Networks to forward each

transaction to the appropriate issuing bank, which ordinarily will transfer funds for the approved

transaction, less a fee.”). Therefore, if U.S. Issuing Banks had processed “in excess of one hundred

million dollars in credit and debit card payments,” as alleged, they would have earned millions in

fees, without any increased economic risk, let alone any economic harm. See id. at ¶ 1. The




                                                13
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 18 of 24




Government did not even attempt to rebut that fact at Weigand’s bail hearings on March 17 and

April 24, 2020.6 In Starr, the Second Circuit held that a defendant could not be convicted of mail

and wire fraud convictions where there was evidence of “an intent to deceive and to induce the

customers to enter into the transaction” but “no evidence of tangible injury . . . from which the jury

could infer an intent to defraud.” 816 F.2d at 98, 101. So too here.

       If anything, the Indictment confirms that the alleged misstatements were immaterial to the

allegedly victimized banks. Although the Indictment alleges that some of the banks would have

preferred not to process transactions involving marijuana (Indictment ¶¶ 1, 12), it fails to allege

how defendants’ misrepresentations were “of some independent value” or bore “on the ultimate

value of the transaction.” Rigas, 490 F.3d at 231. The Second Circuit has made clear that merely

preferring to avoid a transaction is not enough for materiality; instead, “the fraudulent scheme

must implicate tangible economic harm.” United States v. Finazzo, 850 F.3d 94, 111 & n.18 (2d

Cir. 2017). If nothing else, to the extent the Indictment rests on the banks’ policies or concerns

about particular transactions, it wholly fails to meet the requirements of specificity by failing to

allege anything about those policies or even to identify a single specific transaction that the banks

would not have processed. Cf. Rigas, 490 F.3d at 234–35 (examining bank policies for materiality

purposes); United States v. Puerta, 607 F. App’x 635, 636 (9th Cir. 2015) (requiring sufficient

evidence that specific misrepresentations caused a bank to part with its money).




6
  At the March 17, 2020 bail hearing, Weigand argued: “[T]o suggest that there was a loss to the
bank is simply fanciful. Every credit card transaction involved a bank fee where they made
money.” Tr. at 24:14–17. And, “if the volume is what the government says, the banks made
millions and millions of dollars . . . .” Id. at 24:19–21. On April 24, 2020, Weigand reiterated that
the Government had failed to allege that “any bank—U.S. or foreign—lost a nickel in this
supposed bank fraud scheme.” Tr. at 3:21–24.



                                                 14
            Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 19 of 24




       Moreover, the Indictment does not allege that the defendants themselves sought to obtain

any money from U.S. Issuing Banks. Rather, if the scheme was carried out as alleged, any funds

transferred as a result of approved transactions would have been distributed from the U.S. Issuing

Banks to third parties other than the defendants, including merchant banks, payment processors,

and merchants. Indictment at ¶ 11(d). To the extent that the defendants can be alleged to have

obtained money or property from any financial institutions, they were the Foreign Acquiring

Banks, which are not within the purview of the bank fraud statute.

       An alleged scheme with the effect of earning U.S. Issuing Banks money, rather than

depriving them of money or property, simply cannot satisfy the essential elements of the bank

fraud statute. See Kelly, 140 S. Ct. at 1571. The Indictment must therefore be dismissed.

       B.       U.S. Issuing Banks’ Intangible Right To Approve Credit Card Transactions Based
                On Correct Merchant Codes Is Not A Qualifying Property Right Under Kelly.

       Nor can the Indictment survive on the notion that the U.S. Issuing Banks were deprived of

an intangible right to approve credit card transactions based on correct merchant codes or

descriptors. In Kelly, the Supreme Court squarely held that the intangible right of “allocation,

exclusion, and control” does “not create a property interest” and, accordingly, that the deprivation

of this intangible right does not qualify as the deprivation of a property interest under the fraud

statutes. Id. at 1572. Yet, that is all that the Indictment alleges here.

       The scheme in Kelly and the scheme alleged in the Indictment mirror each other in critical

respects.     Although the Government in Kelly asserted that the defendants had tried to

“commandeer[ ] part of the Bridge itself—to take control of its physical lanes,” the Court held that

the Government’s argument resolved to a claim that the defendants had usurped the rights of

“allocation, exclusion, and control” by “deciding that drivers from Fort Lee should get two fewer

lanes while drivers from nearby highways should get two more.” Id. at 1572–73. The Court held



                                                  15
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 20 of 24




that was insufficient to satisfy the fraud statutes. And it made no difference that the defendants in

Kelly “did so by resorting to lies” about their motives. Id.

       So too here. The Indictment’s theory is that Weigand, Akhavan, and their co-conspirators

allegedly deprived “some” unnamed U.S. Issuing Banks of their intangible right to approve or

decline transactions based on accurate information and correct merchant codes. In both schemes,

the efforts of the defendants were allegedly directed at an entity’s right of “allocation, exclusion,

and control” over property, not the property itself: in Kelly, the Port Authority’s right to control

the use of its lanes; in this case, U.S. Issuing Banks’ prerogative to determine which transactions

to approve. See also Brief for Defendants-Appellants, United States v. Gatto et al., Nos. 19-

783(L), 19-786(CON), 19-788(CON), ECF No. 160, at 3 (2d Cir. May 22, 2020) (“There is no

meaningful distinction between the right to control the property at issue in Kelly—the bridge

lanes—and the right to control the property at issue here—scholarships.”).7

       Even before Kelly, circuit courts throughout the country recognized that the federal fraud

statutes were “‘limited in scope to the protection of property rights” and that the deprivation of

intangible rights, including “the ethereal right to accurate information” could not support

convictions. United States v. Sadler, 750 F.3d 585, 591 (6th Cir. 2014); see also United States v.

Murphy, 836 F.2d 248, 253–54 (6th Cir. 1988) (holding that the state’s “right to accurate

information” in connection with issuance of state bingo permits could not support a mail fraud

conviction); see also Starr, 816 F.2d at 100 (finding that the intended “harm” to victims was, at


7
  The defendants in United States v. Gatto et al. were convicted of wire fraud in 2018 for making
payments to prospective college recruits to steer them towards certain universities in violation of
the rules of the National Collegiate Athletic Association (NCAA), in turn allegedly depriving
universities of the benefit of their scholarship money. On appeal, the U.S. Court of Appeals for
the Second Circuit heard oral argument on March 13, 2020, but, recognizing the potential impact
of Kelly, directed the parties to provide supplemental briefing addressing the Supreme Court’s
decision. As of this filing, the appeal is still pending in the Second Circuit.



                                                 16
            Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 21 of 24




most, “metaphysical,” and “[in]sufficient to infer fraudulent intent”); Miller, 953 F.3d at 1101.

And Kelly plainly abrogated any prior decisions holding that such an intangible right—whether

the “right to control” property or the “right to accurate information” in connection with the

distribution of property—may support a conviction under the federal fraud statutes. See, e.g.,

United States v. Lebedev, 932 F.3d 40, 48–49 (2d Cir. 2019) (affirming a wire fraud conviction

based on the theory that the defendant had “deprived . . . financial institutions of the right to control

their assets by misrepresenting potentially valuable economic information,” including the identity

of underlying transactions). Because Kelly is the Supreme Court’s most recent decision on the

topic, it applies over any prior, inconsistent appellate decisions and compels dismissal here. And,

at the very least, a case like Lebedev cannot be extended beyond its egregious facts, which involved

disguising Bitcoin transactions that were “both unlawful and carried a higher risk of fraudulent

transactions” within a scheme that was plainly designed so that the defendant could “obtain funds”

from the victim banks. Id. at 49 (emphasis added). Here, by contrast, the Indictment does not

allege that the transactions posed any material risk to the U.S. Issuing Banks, that any U.S. Issuing

Bank would not have approved them if the merchant codes had been different, or that the scheme

was aimed at depriving those U.S. Issuing Banks of any money or property.

III.       If Anything, The Indictment Alleges A Scheme That Had Only An Incidental and
           Immaterial Effect On The U.S. Issuing Banks.

           The defendants’ roles were unconnected to any U.S. bank, and the defendants did not

obtain funds from the U.S. Issuing Banks. On the contrary, the Indictment’s allegations set forth

an offshore scheme to obtain funds from foreign financial institutions that are beyond the reach of

the federal bank fraud statute. In particular, the Indictment alleges that the defendants and their

co-conspirators:

       •   “[C]reate[d] phony offshore corporations and websites (i.e., the Phony Merchants) and
           open[ed] offshore merchant bank accounts.” Indictment at ¶ 2 (emphasis added)


                                                   17
         Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 22 of 24




   •   “[U]sed [the Phony Merchants] to open offshore bank accounts with merchant
       acquiring banks . . . .” Id. at ¶ 12 (emphasis added)

   •   “[C]reate[d] the Phony Merchants — including phony online merchants purportedly selling
       dog products, dive gear, carbonated drinks, green tea, and face creams — and establish[ed]
       Visa and MasterCard merchant processing accounts with one or more offshore acquiring
       banks.” Id. at ¶ 13 (emphasis added)

       While reciting all of these actions directed at foreign banks that are beyond the scope of

the bank fraud statute, the Indictment fails to allege a single misrepresentation that the defendants

made to a U.S. Issuing Bank. In fact, the Indictment does not even allege that the defendants ever

communicated with any U.S. Issuing Bank. Rather, the Government has maintained that the

defendants were responsible for sending “application packages” and credentials for the Phony

Merchants only to offshore banks and payment processors. Gov. Bail Opposition at 3–4.

       Nor can the Indictment rely on the fact that the Foreign Acquiring Banks received funds

from the U.S. Issuing Banks to satisfy the bank fraud statute. Again, there is no allegation that

those transactions resulted in any economic loss or material risk to the U.S. Issuing Banks; in fact,

they would have resulted in major economic gain for those banks. See Rigas, 490 F.3d at 231. At

most, the Indictment alleges that “some” unspecified banks would have preferred to avoid

marijuana-related transactions. But that is not enough. See Shellef, 507 F.3d at 108–09 (“[T]he

indictment states only that [defendant’s] misrepresentation induced [the victim] to enter into a

transaction it would otherwise have avoided. Because it does not assert that [defendant’s]

misrepresentation had relevance to the object of the contract, we do not think it is legally

sufficient.”) (internal citation and quotations omitted). And, even then, the Indictment fails to

allege which banks had which policies that prohibited these transactions—let alone which

transactions were supposedly wrongly induced. Indeed, this Indictment comes nowhere close to

pleading allegations similar to other Indictments that the courts have found sufficient under the


                                                 18
        Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 23 of 24




bank fraud statute. See, e.g., United States v. Mercado, No. S1-02-cr-675, 2003 WL 21756084, at

*2 (S.D.N.Y. July 30, 2003) (looking at deposit dates and amounts); United States v. DiMarzo,

No. 93-cr-247, 1993 WL 426936, at *2 (S.D.N.Y. Oct. 21, 1993) (looking at dates, banks, and

transactions). In all events, those transactions were not an “object of the fraud,” but rather an

“incidental byproduct” of the alleged scheme. Kelly, 140 S. Ct. at 1573. And, in Kelly, the

Supreme Court squarely held that “a property fraud conviction cannot stand when the loss to the

victim is only an incidental byproduct of the scheme.” Id. at 1573. As a result, the Indictment

must be dismissed.

                                        CONCLUSION

       The Indictment alleges a scheme that did not result in or intend any economic harm to any

U.S. financial institution. Indeed, the scheme alleged in the Indictment resulted in U.S. banks

obtaining significant fees. The object of the alleged scheme was not for the defendants to obtain

money or property from U.S. Issuing Banks. The scheme therefore falls outside the reach of the

federal bank fraud statute. For all the foregoing reasons, and because the Indictment perpetuates

the “ballooning of federal power” and the “sweeping expansion of federal criminal jurisdiction”

the Kelly Court warned against, Weigand respectfully requests the dismissal of the Indictment with

prejudice.


Dated: New York, New York                      Respectfully submitted,
       June 26, 2020
                                               DECHERT LLP

                                               By: /s/ Andrew J. Levander

                                               Andrew J. Levander
                                               Michael J. Gilbert
                                               Shriram Harid
                                               Steven Pellechi
                                               Three Bryant Park
                                               1095 Avenue of the Americas


                                               19
Case 1:20-cr-00188-JSR Document 62 Filed 06/26/20 Page 24 of 24




                              New York, New York 10036-6797
                              Andrew.levander@dechert.com
                              Michael.gilbert@dechert.com
                              Shriram.harid@dechert.com
                              Steven.pellechi@dechert.com

                              Michael H. Artan
                              Michael H. Artan, Lawyer, A Professional
                              Corporation
                              1 Wilshire Boulevard, Suite 2200
                              Los Angeles, CA 90071
                              Michaelartan@yahoo.com

                              Attorneys for Defendant
                              Ruben Weigand




                              20
